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    17
    18                       UNITED STATES DISTRICT COURT
    19                     CENTRAL DISTRICT OF CALIFORNIA
    20 NETLIST INC. a Delaware                  CASE NO. 8:20-cv-00993-MCS-ADS
    21 corporation,                             SAMSUNG ELECTRONICS CO.,
    22                                          LTD.’S OBJECTION TO NETLIST’S
                    Plaintiff,
                                                APPLICATION TO THE CLERK TO
    23                                          TAX COSTS
              vs.
    24
                                                Hon. Mark C. Scarsi
    25 SAMSUNG ELECTRONICS CO.,
       LTD., a Korean corporation,
    26
    27              Defendant.
    28

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     1                  OBJECTION TO APPLICATION TO TAX COSTS
     2         Defendant Samsung Electronics Co., Inc. (“Samsung”) hereby objects to
     3 Plaintiff Netlist Inc. (“Netlist”)’s Application to Tax Costs (Dkt. 310, Application to
     4 Clerk to Tax Costs (Dkt. 310) (“Application”)), on the grounds that Netlist seeks
     5 costs that are not properly taxable. Specifically, Netlist is not entitled to the
     6 following claimed costs:
     7              • $4,427.40 in deposition transcript costs (Dkt. 310-4, at ECF page 2)
     8                 for witnesses whose depositions were not “used for any purpose in
     9                 connection with the case.” LR 54-3.5(a).
    10              • $3,798.00 for rough transcript costs (Dkt. 310 at ECF page 2; Dkt.
    11                 310-4, at ECF pages 2, 8, 10, 11, 13, 14, 16, 18 19, 22–25) because
    12                 those rough drafts were in addition to the number of copies that are
    13                 properly taxable. LR 54-3.5(a).
    14              • $10,938.05 for copying trial exhibits (Dkt. 310 at ECF page 2; Dkt.
    15                 310-9) because trial exhibits are neither “documents necessarily filed
    16                 and served” nor “Mandatory Chambers Copies” of filings “required by
    17                 the Court.” LR 54-3.10(a).
    18              • $965.90 for service of the complaint on foreign defendant (Dkt. 310
    19                 at ECF page 2; Dkt. 310-3 at ECF page 3) because Samsung waived
    20                 service of process under the Hague Convention (Dkt. 21), and Netlist’s
    21                 assertion that this cost was necessary because “service was required in
    22                 Korea via procedures outlined and required by the Hague Convention”
    23                 (Dkt. 310-1 at ECF page 5) is not supported.
    24         A.      Netlist’s Costs for Deposition Transcripts Are Not Taxable
    25         Netlist claims $4,427.40 in costs for deposition transcripts that were not used
    26 in connection with the case, and are therefore not taxable. The “reasonable costs of
    27 preparing the original transcription of the oral portion of a deposition . . . is taxable
    28 if the transcript is used for any purpose in connection with the case,” including the
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     1 cost of copies and shipping and handling fees. LR 54-3.5(a). For example,
     2 “[d]isallowance for expenses of depositions not used at trial is within the district
     3 court’s discretion.” Wash. State Dept. of Transp. v. Wash. Natural Gas Co.,
     4 Pacificorp, 59 F.3d 793, 806 (9th Cir. 1995); see Firemen’s Fund Ins. Co. v.
     5 Standard Oil Co. of Cal., 339 F.2d 148, 157-58 (9th Cir. 1964) (permitting costs for
     6 depositions used at trial to refresh witness recollection and in cross examination).
     7        Here, Netlist claims deposition transcript costs for fact witnesses Byung Yoep
     8 Jeon (Dkt. 310-1 at ECF page 2 (Netlist claiming a total of $1,527.25 for volumes 1
     9 and 2 for the deposition transcript of Byung Yoep Jeon) and Hyunki Ji (id. (Netlist
    10 claiming $885.50 for the deposition transcript of Hyunki Ji)). But Netlist has not
    11 provided documentation, nor could they, that those depositions were used in any
    12 motion or at trial because they were not. Similarly, the deposition transcripts for
    13 expert witnesses Joseph McAlexander (id. (Netlist claiming $1,182.50 for the
    14 deposition transcript of Joseph McAlexander) and Byungwook Kam (id. (Netlist
    15 claiming $832.15 for the deposition transcript of Byungwook Kam)) were not used
    16 in any motion or at trial. Those transcripts, totaling $4,427.40, were not used “in
    17 connection with the case,” LR 54-3.5(a), and the costs for those transcripts are
    18 therefore not taxable.
    19        B.     Netlist’s Costs for Extra, Rough Draft Copies of Deposition
    20               Transcripts Are Not Taxable
    21        Under the Local Rules, deposition transcripts are taxable under the following
    22 circumstances: (1) where a party takes the deposition and is responsible for
    23 purchasing the original, that party may tax the cost of the original and one copy; (2)
    24 where a party is not the one taking the deposition, and therefore not responsible for
    25 purchasing the original, that party may tax the cost of only one copy. See LR 54-
    26 3.5(a). Netlist’s Application improperly seeks $3,798.00 in costs for extra, rough
    27 draft copies of deposition transcripts in contravention of this rule. (See Dkt. 310-4
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     1 at ECF page 2 (claiming $3,798.00 for rough deposition transcripts).) Every rough
     2 draft copy that Netlist ordered was an extra copy that is not taxable.
     3                1.    Where Netlist Netlist Took the Deposition
     4         For the depositions that Netlist took and was responsible for ordering the
     5 original transcript, Netlist improperly claims the cost of rough drafts, in addition to
     6 the cost of the original and one certified copy. Under Local Rule 54-3.5(a), where
     7 Netlist, as the party taking the deposition, was responsible for purchasing the
     8 original transcript, it may only claim the cost of one additional copy. “The
     9 reasonable cost of preparing the original of the oral portion of a deposition for
    10 ordinary, non-expedited delivery after the deposition is taxable” and the “reasonable
    11 cost of one additional copy of the transcript, in any form (including a rough draft),
    12 [are] taxable. . . .” L.R. 54-3.5(a) (emphasis added). “Courts in this Circuit have
    13 regularly disallowed rough draft deposition costs over and above the original and
    14 one copy allowed by these rules . . . .” Hardwick v. County of Orange, 2007 WL
    15 5664992, at *2 (C.D. Cal. 2017). Here, for every instance where Netlist, as the
    16 party taking the deposition, ordered the original deposition transcript, it also was
    17 provided a certified copy; yet Netlist also seeks improperly to tax the cost of a
    18 rough draft:
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    26 (Dkt. 310-4, at ECF page 5; see also id., at ECF page 7 (Netlist claiming cost for
    27 “Original with 1 Certified Transcript” in the amount of $945.00 and the cost of a
    28 “Rough Draft” in the amount of $270), id., at ECF page 8 (Netlist claiming cost for
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     1 “Original with 1 Certified Transcript” in the amount of $950.25 and the cost of a
     2 “Rough Draft” in the amount of $271.50; id., at ECF page 10 (Netlist claiming cost
     3 for “Original with 1 Certified Transcript” in the amount of $787.50 and the cost of a
     4 “Rough Draft” in the amount of $225.00, id., at ECF page 13 (Netlist claiming cost
     5 for “Original with 1 Certified Transcript” in the amount of $887.25 and the cost of a
     6 “Rough Draft” in the amount of $253.50); id., at ECF page 14 (Netlist claiming cost
     7 for “Original with 1 Certified Transcript” in the amount of $719.25 and the cost of a
     8 “Rough Draft” in the amount of $205.50); id., at ECF page 16 (Netlist claiming cost
     9 for “Original with 1 Certified Transcript” in the amount of $483.00 and the cost of a
    10 “Rough Draft” in the amount of $138.00); id., at ECF page 18 (Netlist claiming cost
    11 for “Original with 1 Certified Transcript” in the amount of $1,281.00 and the cost of
    12 a “Rough Draft” in the amount of $366.00); id., at ECF page 19 (Netlist claiming
    13 cost for “Original with 1 Certified Transcript” in the amount of $525.00 and the cost
    14 of a “Rough Draft” in the amount of $150.00), id., at ECF page 22 (Netlist claiming
    15 cost for “Original with 1 Certified Transcript” in the amount of $1,785.00 and the
    16 cost of a “Rough Draft” in the amount of $255.00), id., at ECF page 25 (Netlist
    17 claiming cost for “Original with 1 Certified Transcript” in the amount of $2,803.50
    18 and the cost of a “Rough Draft” in the amount of $400.50).)
    19         Netlist is in effect seeking to recover the cost of two copies of the transcript
    20 in addition to the original. Therefore, those rough draft copies, which are in the total
    21 amount of $2,806.50, are “over and above the original and one copy allowed,”
    22 Hardwick, 2007 WL 5665992, at *2, and are not taxable.1
    23               2.     Where Samsung Took the Deposition
    24         For the depositions that Netlist did not take and was not responsible for
    25 ordering the original transcript, Netlist improperly claims the cost of an extra rough
    26
    27   1
        Samsung notes that certain of these costs are also included within the costs
    28 challenged by Samsung in Section A above.
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     1 draft, in addition to the cost the one properly taxable copy. As shown here, Netlist
     2 claims extra, rough draft copies where it ordered a certified copy but not the
     3 original:
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    12 (Dkt. 310-4, at ECF page 11; see also id. at ECF pages 23 (Netlist claiming costs for
    13 “Certified Transcript” in the amount of $939.40 and a “Rough Draft” in the amount
    14 of $366.00); id. at ECF pages 24 (Netlist claiming costs for “Certified Transcript” in
    15 the amount of $573.65 and a “Rough Draft” in the amount of $223.50).) Under
    16 Local Rule 54-3.5(a), with regard to “a party that did not purchase the original,”
    17 only “[t]he reasonable cost of one copy of the transcript is … taxable.” The cost of
    18 “one additional copy of the transcript (including a rough draft)” is not taxable unless
    19 the party also ordered the original. Id. Therefore, where Netlist did not order the
    20 original transcript, but only a certified copy, it is not entitled to recover the cost of a
    21 rough draft copy; such e rough draft copy costs claimed by Netlist, which are in the
    22 total amount of $991.50, are not taxable.
    23                                        *     *      *
    24         In sum, none of Netlist’s claimed costs for rough transcripts are taxable
    25 because in each instance, it was an extra copy not taxable under the rules.
    26 Therefore, Netlist’s total claim for $3,798.00 in rough transcript costs (see Dkt. 310-
    27 4, Tab 5A, at ECF page 2) should not be taxed even if Netlist had made a sufficient
    28 showing with respect to the subject depositions.
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     1         C.     Netlist’s Costs for the Reproduction of Trial Exhibits Are Not
                      Taxable
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               Netlist improperly seeks $10,938.05 in costs it incurred to re-produce exhibits
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         for trial. (Dkt. 310 at ECF page 3; Dkt. 310-9 at ECF page 3.) Netlist contends that
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         the costs of preparing trial exhibits, which the Court ordered the parties to prepare,
     5
         are properly taxable because they are costs for “copies of documents necessarily
     6
         filed and served, including the cost of copying and delivering Mandatory Chambers
     7
         Copies required by the Court” LR 54-3.10(a). These costs are not properly taxable
     8
         because trial exhibits are not “documents necessarily filed and served,” nor are they
     9
         “Mandatory Chambers Copies” of documents filed with the Court. Trial exhibits
    10
         are lodged with the Court prior to trial. In any event, Netlist has not provided any
    11
         meaningful documentation to establish that these costs are reasonable and properly
    12
         taxable. LR 54-2.1. Therefore, Netlist’s costs of $10,938.05 for printing trial
    13
         exhibits are not taxable.
    14
               D.     Netlist’s Cost for Service of the Complaint Is Not Taxable
    15
    16         Netlist seeks $965.90 in costs for purportedly serving the complaint on

    17 Samsung via the Hague Convention in Korea. (Dkt. 310 at ECF page 2; Dkt. 310-3
    18 at ECF page 3.) According to Netlist, this cost was for “service of the Complaint on
    19 Defendant Samsung, a Korean corporation, which service was required in Korea via
    20 procedures outlines and required by the Hague Convention.” (Dkt. 310-1 at 5.) But
    21 Samsung and Netlist stipulated to waive service under the Hague Convention (Dkt.
    22 21), and there is no indication that the cost Netlist is claiming is for service through
    23 the Hague Convention. In addition, service through the Hague Convention is
    24 accomplished through the Korean Central Authority, and the invoice submitted by
    25 Netlist (Dkt. 310-3 at ECF page 3) does not explain how the claimed cost is for a
    26 taxable cost for the service through the Korean Central Authority. Thus, Netlist’s
    27 claim for $965.90 for service of the complaint is not taxable.
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                                                    7
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     1 II.    CONCLUSION
     2        For all the foregoing reasons, the following costs should not be taxed:
     3            • $4,427.40 in deposition transcript costs (Dkt. 310 at ECF page 2; Dkt.
     4                310-4, at ECF page 2).
     5            • $3,798.00 for rough transcript costs (Dkt. 310 at ECF page 2; Dkt. 310-
     6                4, at ECF pages 2, 8, 10, 11, 13, 14, 16, 18 19, 22–25), except to the
     7                extent that these costs are included in the $4,427.40 stated above that is
     8                not taxed.
     9            • $10,938.05 for copying trial exhibits (Dkt. 310 at ECF page 2; Dkt.
    10                310-9).
    11            •   $965.90 for service of the complaint on foreign defendant (Dkt. 310 at
    12                ECF page 2; Dkt. 310-3 at ECF page 3).
    13        Pursuant to LR 54-2.2, the undersigned counsel conferred with counsel for
    14 Netlist in an effort to resolve disagreement about the taxable costs claimed in
    15 Netlist’s Application and made good faith efforts to arrange such conference. The
    16 parties were unable to come to an agreement.
    17
    18
         DATED: March 14, 2022                 Bird, Marella, Boxer, Wolpert, Nessim,
    19
                                               Drooks, Lincenberg & Rhow, P.C.
    20
    21
    22                                         By:         /s/ Ekwan E. Rhow
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    24                                               Electronics Co., Ltd.
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